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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 11-20698-CR-SCOLA

 UNITED STATES OF AMERICA

 v.

 MARGARET MARIE ELLIOTT,

       Defendant.
 __________________________________/
                        ORDER ADOPTING MAGISTRATE JUDGE’S
                    REPORT AND RECOMMENDATION ON GUILTY PLEA
         THIS MATTER is before the Court on the Defendant’s request to enter a plea of guilty. By
 Order [ECF No. 521], the Court referred the change of plea to Magistrate Judge Frank J. Lynch, Jr.
 on March 8, 2012. On March 13, 2012, the Magistrate Judge conducted a change of plea hearing
 for Defendant Elliott. By Order [ECF No. 538] that same day, the Magistrate Judge issued a Report
 and Recommendation that the Defendant’s plea of guilty be accepted and that the Defendant be
 adjudicated guilty of the offenses to which she has entered her plea of guilty.
         The Defendant and the Government were given the opportunity to file objections to the
 Report and Recommendation, however none were filed. The Court has now carefully considered
 the Report and Recommendation and has also conducted a de novo review of the entire file.
         Accordingly, upon review and consideration, it is hereby ORDERED and ADJUDGED
 that the Magistrate Judge’s Report and Recommendation is ADOPTED and APPROVED in its
 entirety. The Defendant is adjudged guilty of Counts One, Six, and Nine of the Indictment.
         A sentencing hearing before the undersigned has been scheduled for Friday June 8, 2012 at
 11:30 a.m., at the Wilkie D. Ferguson U.S. Courthouse, 400 N. Miami Ave., Courtroom 12-3,
 Twelfth Floor, in Miami, Florida.

         DONE AND ORDERED in chambers at Miami, Florida on April 5, 2012.


                                               ____________________________________
                                               ROBERT N. SCOLA, JR.
                                               UNITED STATES DISTRICT JUDGE
 Copies to:
 Counsel of Record; Magistrate Judge Lynch
